                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF LOUISIANA


STATE OF LOUISIANA,                       * CIVIL ACTION NO. 2:23-cv-00692

VERSUS                                    * JUDGE JAMES D. CAIN, JR.

U.S. ENVIRONMENTAL PROTECTION             * MAGISTRATE JUDGE
AGENCY, ET AL                             KATHLEEN KAY

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             STATE OF LOUISIANA’s RESPONSE TO PLAINTIFFS’
               RULE 56.1 STATEMENT OF UNDISPUTED FACTS




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                                      GENERAL OBJECTION

        Plaintiffs tender 19 paragraphs in their Rule 56.1 statement. Louisiana objects that many of

the “facts” that statement are not material to resolution of the State’s claims. See Fed. R. Civ. P. 56(c);

Adickes v. S. H. Kress & Co., 398 U.S. 144, 161 (1970). Except to the extent expressly admitted herein,

Louisiana disputes each and every statement.

             RESPONSES AND OBJECTIONS TO SPECIFIC STATEMENTS

1.      Shortly after Title VI was enacted in 1964, a Presidential task force and the Department of

Justice (DOJ) drafted model Title VI regulations. See 45 CFR § 80.3 (1964). These model regulations

included a provision that recipients of federal funds may not use “criteria or methods of administration

which have the effect of subjecting individuals to discrimination” on the basis of race, color, or national

origin. See id. § 80.3(b)(2) (1964) (emphasis added).

        Response #1: Undisputed.

2.      In 1966, DOJ promulgated its own Title VI regulations with presidential approval. See

Nondiscrimination in Federally Assisted Programs—Implementation of Title VI of the Civil Rights

Act of 1964, 31 Fed. Reg. 10265 (July 29, 1966) (Administrative Record (“AR”) 1-5).

        Response #2: Undisputed.

3.      In 1973, the Environmental Protection Agency (EPA) promulgated its own Title VI

regulations with presidential approval. See Nondiscrimination Programs Receiving Federal Assistance

from the Environmental Protection Agency, 38 Fed. Reg. 17,968 (July 5, 1973) (AR286-90).

        Response #3: Undisputed.

4.      Both agencies’ regulations prohibited recipients of federal financial assistance from

administering programs in a manner that has the effect of subjecting individuals to discrimination

based on race, color, or national origin. See Nondiscrimination in Federally Assisted Programs—

Implementation of Title VI of the Civil Rights Act of 1964, 31 Fed. Reg. 10265 (July 29, 1966) (DOJ)



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(AR-15); Nondiscrimination Programs Receiving Federal Assistance from the Environmental

Protection Agency, 38 Fed. Reg. 17,968 (July 5, 1973) (EPA) (AR286-90).

         Response #4: Undisputed.

5.       While both EPA and DOJ have amended their regulations periodically, the discriminatory-

effect provisions have remained unchanged in substance for decades. Compare 28 C.F.R. § 42.104(b)(2)

with 31 Fed. Reg. 10,266 (AR2), and 40 C.F.R. § 7.35(b) with 38 Fed. Reg. 17,968 (AR286).

         Response #5: Disputed. As Defendants admit, EPA and DOJ have amended these

provisions over time in ways that have potential substantive effects. These amendments presumptively

have substantive effect, and Defendants make no attempt to explain why that would not be the case.

See, e.g., Husky Int’l Elecs., Inc. v. Ritz, 136 S. Ct. 1581, 1586 (2016) (“When Congress acts to amend a

statute, we presume it intends its amendment to have real and substantial effect.”); Pub. Lands Council

v. Babbitt, 529 U.S. 728, 746 (2000) (“Why would Congress add the words . . . if . . . they add nothing?”).

         The State also notes that this statement lacks context. While the regulations may have changed,

the Administration’s actual implementation and enforcement of Title VI has been subject to enormous

changes recently. For example, EPA did not even check its inbox for Title VI complaints from June

2014 to July 2015, Exh. 721—let alone attempt to take action upon those ignored complaints. More

recently, however, EPA’s enforcement has been substantially more aggressive. See Exh. 4-9, 41; Exh.

52 at 393-94; Exh. 53 at 241. For example, it initiated the enforcement proceedings at issue here even

though the permits at issue reduced allowable air emissions, producing environmental benefits, and

those benefits disproportionately accrued to racial minorities in the State. See Exh. 11 at 15 (By letter

dated May 20, 2020, LDEQ informed Denka that an 85% (84.63% rounded) reduction in chloroprene

emissions compared to 2014 reported emissions had in fact been achieved.”); Exh. 35. EPA and DOJ


1Unless otherwise noted, all references to “Exh.” are to exhibits of the Seidemann Declaration, Seidemann Supplemental
Declaration, or Burdette Declaration, which have sequentially numbered exhibits in a single sequence.



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have also secured Title VI settlement agreements from Alabama, Michigan, and Missouri in the last

twelve months. Exh. 54-57.

6.      In 2020, DOJ considered a draft rulemaking that would have sought to eliminate disparate-

impact requirements from its Title VI regulations. AR277. Although DOJ submitted a draft Title VI

rulemaking for review to the Office of Management and Budget (OMB) on December 21, 2020, id.,

shortly thereafter, on January 14, 2021, DOJ notified OMB that the Department had decided not to

proceed with publication of that rule and requested an end to OMB’s review, AR279. The draft rule

was never filed for public inspection with the Office of the Federal Register and was never published

in the Federal Register. See AR279-80.

        Response #6: Undisputed.

7.      Since 1988, EPA has provided more than one billion dollars in federal financial assistance

through annual funding grants to the Louisiana Department of Environmental Quality (LDEQ) and

the Louisiana Department of Health (LDH). Declaration of Christopher Watkins (“Watkins Decl.”)

¶ 4. Current grants total $120,238, 571 and at least 16 grant applications are pending. Id. ¶ 5.

        Response #7: Undisputed.

8.      LDEQ and LDH are required to certify, and have certified, their compliance with Title VI and

EPA’s regulations implementing Title VI when they apply for and receive federal financial assistance

from EPA. Id. ¶¶ 5-11.

        Response #8: Undisputed. The State notes that this fact necessarily means that the State is

an “object” of those regulations for purposes of Article III standing. Lujan v. Defs. of Wildlife, 504 U.S.

555, 561 (1992).

9.      In 1984, EPA began requiring that applicants for federal funding assistance submit a signed

EPA Form 4700-4. Id. ¶ 11. All applications for federal financial assistance by LDEQ, LDH, or the

State of Louisiana since 1984 were required to contain a completed and signed Form 4700-4, which



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contains certifications that the funding recipient will fully comply with all applicable civil rights statutes

and EPA regulations. Id.

        Response #9: Undisputed. The State notes that this fact again makes plain that the State is

the object of the challenged regulations.

10.     As the discriminatory-effect provisions of EPA’s Title VI regulations have remained

unchanged in substance for decades, since 1984 LDEQ, LDH, and the State of Louisiana have

certified with every application for federal financial assistance, including those made by LDEQ in June

2023 and by LDH in July 2023, that they will comply with the discriminatory-effect provisions of

EPA’s Title VI regulations. Id. ¶¶ 8-11.

        Response #10: Undisputed. The State notes that these recent permit grants in June and July

2023 necessarily extend the term in which the State’s agencies are bound to the requirements of Title

VI, since the binding effect is only for the duration of the grants. See 28 C.F.R. § 42.105 (DOJ); 40

C.F.R. § 7.80 (EPA).

11.     On January 20, 2022, EPA’s Office of External Civil Rights Compliance (OECRC) received:

(1) the complaint subsequently docketed as EPA Complaint No. 01R-22-R6, titled “Complaint Under

Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, Regarding Civil Rights Violations by

Louisiana State Agency Grantees and Environmental Injustice in St. John the Baptist Parish”; and (2)

the complaint subsequently docketed as EPA Complaint No. 02R-22-R6, titled “Complaint Under

Title VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, Regarding Civil Rights Violations by

Louisiana State Agency Grantees and Environmental Injustice in St. John the Baptist Parish.”

Declaration of Anhthu Hoang (“Hoang Decl.”) ¶¶ 6-7.

        Response #11: Undisputed.

12.     On February 1, 2022, EPA’s OECRC received the complaint subsequently docketed as EPA

Complaint No. 04R-22-R6, titled “Complaint Under Title VI of the Civil Rights Act of 1964, 42 U.S.C.



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§ 2000d, and 40 C.F.R. Part 7 against the Louisiana Department of Environmental Quality for Lack

of Environmental Justice Procedures in its Air Permitting Program and Resulting Discriminatory

Decision on Formosa Air Permits.” Hoang Decl. ¶ 8.

        Response #12: Undisputed.

13.     On April 6, 2022, EPA’s OECRC initiated: (1) an investigation of Complaint Nos. 01R-22-R6

and 04R-22-R6, which were filed against LDEQ; and (2) an investigation of Complaint No. 02R-22-

R6, which was filed against LDH. Hoang Decl. ¶¶ 9-10.

        Response #13: Undisputed.

14.     On June 27, 2023, EPA’s OECRC issued a letter to LDEQ administratively closing EPA

Complaint Nos. 01R-22-R6 and 04R-22-R6, and stating that no further action will be taken with

respect to Complaint Nos. 01R-22-R6 and 04R-22-R6. ECF No. 18-1; see also Hoang Decl. ¶ 18. This

letter constituted EPA’s final disposition of EPA Complaint Nos. 01R-22-R6, and 04R-22-R6. ECF

No. 18-1; see also Hoang Decl. ¶ 18.

        Response #14: Disputed. The State admits that Doc. 18-1 is a true and accurate copy and

that it states: “As a result of its administrative closure, EPA will not initiate under Title VI or other

civil rights laws any further action, enforcement or otherwise, in response to these Complaints.” The

State objects to number 14 on the basis that the letter speaks for itself. In addition, as explained in the

State’s response/reply brief, this action does not moot the State’s challenges.

15.     On June 27, 2023, OECRC issued a letter to LDH administratively closing EPA Complaint

No. 02R-22-R6, and stating that no further action will be taken with respect to Complaint No. 02R-

22-R6. ECF No. 18-2; Hoang Decl. ¶ 19. This letter constituted EPA’s final disposition of EPA

Complaint No. 02R-22-R6. ECF No. 18-2; Hoang Decl. ¶ 19.




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         Response #15: Disputed. The State admits that Doc. 18-2 is a true and accurate copy and

that it states: “As a result of its administrative closure, EPA will not initiate under Title VI or other

civil rights

laws any further action, enforcement or otherwise, in response to this Complaint.” The State objects

to number 15 on the basis that the letter speaks for itself. In addition, as explained in the State’s

response/reply brief, this action does not moot the State’s challenges.

16.      On July 17, 2023, EPA rejected a Title VI Complaint (EPA Complaint No. 02R-23-R6) against

LDEQ (Town of Mansura) that EPA received on December 16, 2022. Hoang Decl. ¶ 20.

         Response #16: Undisputed. See Response 14.

17.      On July 28, 2023, EPA rejected a Title VI Complaint (EPA Complaint No. 07RNO-23- R6)

against LDEQ that EPA received on May 31, 2023. Hoang Decl. ¶ 21.

         Response #17: Undisputed. See Response 14.

18.      As of August 15, 2022, there are no Title VI complaints related to LDEQ, LDH, the State of

Louisiana, or any of the State’s subcomponents pending at or otherwise under consideration by EPA.

Hoang Decl. ¶ 22.

         Response #18: Undisputed. The State notes that while there are currently not any pending

Title VI complaints by private groups, EPA itself has objected to LDEQ’s issuance of a permit under

the Clean Air Act on June 16, 2023. See Exh. 84. That objection, which carried the force of law under

42 U.S.C. § 7661d, specifically objected on Title VI disparate-impact grounds, including cumulative-

impact grounds, to LDEQ’s proposed granting of the permit at issue. See id. Specifically, EPA

demanded that to grant the permit that LDEQ must undertake analysis under “civil rights regulations”

to avoid “unjustified discriminatory effect” (i.e., Title VI disparate-impact mandates), and that the State

consider “whether the community is already disproportionately impacted either by public health or

environmental burdens,” (i.e., analyze cumulative disparate impacts). Id.



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19.     EPA has never taken or attempted to take any enforcement steps outlined in 40 C.F.R. § 7.130

(“Actions available to EPA to obtain compliance”) to terminate assistance, refuse to award assistance,

or refuse to continue assistance, against any state to obtain compliance with EPA’s disparate-impact

regulations. Hoang Decl. ¶ 23.

        Response #19: Undisputed. The State notes, however, that EPA has successfully extracted

settlements from Alabama, Michigan, and Missouri in the last twelve months alone by threatening

enforcement under Title VI. See Exh. 54-57.

                      ADDITIONAL UNDISPUTED MATERIAL FACTS

        1.      The State does incur or would incur costs to comply with the challenged Title VI

disparate-impact regulations. See Burdette Declaration ¶¶17-25; Exh. 61 at 18 (explaining that

““statistical evidence is often necessary” to comply with disparate-impact mandates); Prop. Cas. Insurers

Ass’n of Am. v. Donovan, 66 F. Supp. 3d 1018, 1043-44 (N.D. Ill. 2014) (finding standing based on

compliance costs resulting from challenged disparate-impact rule because such mandates “require the

[regulated entities] to begin collecting and reviewing information regarding applicants’ race, color,

[etc.] to monitor their compliance with the Rule” and thereby “causes [the regulated parties] to incur costs.”

(emphasis added)).

        2.      On October 12, 2022, EPA issued a “Letter of Concern” to LDEQ and LDH. See

Exh. 11.

        3.       EPA explained that it “issue[d] th[e] Letter [of Concern] to present significant

evidence suggesting that the Departments’ actions or inactions have resulted and continue to result in

disparate adverse impacts on Black residents of St. John the Baptist Parish, St. James Parish, and the

Industrial Corridor.” Exh. 11 at 2.




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        4.      The Letter of Concern requested that LDEQ and LDH “[c]onduct cumulative impact

analysis” and set forth detailed requirements that EPA demanded, at a “minimum,” that “[t]hese

cumulative impact analyses should” contain. Exh. 11 at 5-6.

        5.      The Letter of Concern did not allege that LDEQ or LDH had taken any actions on

the basis of intentional discrimination. See generally Exh. 11.

        6.      EPA submitted document demands to LDEQ and LDH on April 26, 2023, as part of

its Title VI investigations. See Exh. 18.

        7.      In March 2023, EPA admitted that it could not continue informal negotiations with

the State without securing Sierra Club’s consent to an extension. See Seidemann Decl. ¶¶ 65-70; see also

Exh. 42.

        8.      To secure Sierra Club’s consent, EPA traded non-public information and told

attorneys for LDEQ and LDH that EPA “did not think it was a very high price ... in order to get a

120-day extension for the purpose of continuing what we think is a very productive discussion [and]

negotiation.” See Seidemann Decl. ¶¶ 65-70.

        9.      EPA and LDEQ/LDH exchanged proposed settlement agreements with each other,

including through redlines of EPA’s proposals. See Exh. 81-83.

        10.     In the course of the informal negotiations, EPA never alleged that LDEQ and LDH

had taken any actions that were the product of intentional discrimination. See Seidemann Decl. ¶109.




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Dated: September 29, 2023                             Respectfully submitted,

                                                      By:/s/ J. Scott St. John

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